     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 1 of 16



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16   FOLLOWING PAGES

17
                         IN THE UNITED STATES DISTRICT COURT
18                           FOR THE DISTRICT OF ARIZONA
19   Paul A. Isaacson, M.D., on behalf of
20   himself and his patients, et al.,
                                                  Case No. 2:21-CV-1417-DLR
21                         Plaintiffs,
                                                  PLAINTIFFS’ REPLY IN SUPPORT
22          v.                                    OF PLAINTIFFS’ EMERGENCY
                                                  MOTION FOR AN INJUNCTION OF
23   Mark Brnovich, Attorney General of           INTERPRETATION POLICY
24   Arizona, in his official capacity; et al.,

25                         Defendants.

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      Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 2 of 16



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      Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 3 of 16



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     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 4 of 16



 1          Introduction
 2          Glaringly absent from Defendants’ response is any real answer to Plaintiffs’
 3   arguments that the Interpretation Policy is unconstitutionally vague as applied to abortion
 4   care. Defendants have admitted the Interpretation Policy alters the meaning of countless
 5   Arizona statutes and can be used to impose criminal penalties, but refuse to answer whether
 6
     the Interpretation Policy has now altered Arizona’s criminal laws to completely ban
 7
     abortion in the wake of Dobbs v. Jackson Women’s Health Organization, No. 19-1392,
 8
     2022 WL 2276808 (U.S. June 24, 2022). According to Defendants, it is “anyone’s guess”
 9
     whether the Interpretation Policy can be used in this way, Resp. at 7 (ECF No. 113), and
10
     Plaintiffs must risk severe criminal penalties and potentially decades in prison to find out.
11
12   Rather than countering Plaintiffs’ arguments showing that this is precisely why the

13   Interpretation Policy is unconstitutionally vague in the abortion context, Defendants

14   attempt to avoid all judicial review. But these efforts must fail.

15          First, Defendants argue that Plaintiffs’ vagueness claim is unripe. Resp. at 5–8. This
16   argument ignores the fact that Plaintiffs are seeking as-applied relief against “a particular
17   application of the Interpretation Policy” in the abortion context, which is now “restrict[ing]
18   Plaintiffs’ activities ‘in some concrete way.’” Prelim. Inj. Order at 8 (ECF No. 52) (“PI
19
     Order”). Plaintiff Physicians, Drs. Isaacson and Reuss, have ceased providing abortion care
20
     out of fear that the Interpretation Policy will be used to prosecute them now that Roe v.
21
     Wade, 410 U.S. 113 (1973) and Planned Parenthood of Southeastern Pennsylvania v.
22
     Casey, 505 U.S. 833 (1992) have been overturned; that is an unquestionably “concrete”
23
     restriction of their activities. Rather than grapple with this reality, Defendants resurrect the
24
25   same erroneous arguments they raised in opposition to facial relief, none of which cast

26   doubt on the ripeness of Plaintiffs’ as-applied vagueness claim.

27          Second, Defendants wrongly assert that the Interpretation Policy is categorically

28   exempt from the demands of the vagueness doctrine because it is not a criminal statute.

                                                   -1-
     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 5 of 16



 1   Resp. at 8–10. Yet Defendants have admitted that, in the absence of Roe and Casey, the
 2   Interpretation Policy could be used to alter criminal statutes that would impose severe,
 3   felony criminal penalties in the abortion context. Oral Argument Tr. at 83–85 (ECF No.
 4   61). Defendants have never rescinded this admission or claimed the Interpretation Policy
 5
     could not be applied to impose criminal penalties in the abortion context. Accordingly, the
 6
     Interpretation Policy can be used to subject Plaintiffs to criminal penalties and is squarely
 7
     subject to the vagueness doctrine.
 8
            Third, Defendants themselves highlight why the Interpretation Policy is
 9
     unconstitutionally vague as applied to abortion care. In Defendants’ own words, “[h]ow
10
11   the Interpretation Policy might alter the Arizona judiciary’s analysis of these issues, if at

12   all, is anyone’s guess.” Resp. at 7 (emphasis in original). Defendants offer no narrowing

13   construction, or even a single example of how the Interpretation Policy would be clearly

14   and consistently applied to “acknowledge” the rights of fertilized eggs, embryos, or fetuses
15   in the abortion context, let alone how law enforcement would clearly and consistently
16   enforce those rights. This is the very definition of an unconstitutionally vague law.
17          Plaintiffs are thus likely to succeed on their claim that the Interpretation Policy is
18
     unconstitutionally vague as applied to abortion care. Absent immediate relief from this
19
     Court, uncertainty over the Interpretation Policy and a total lack of standards to guide
20
     enforcement by police, prosecutors, and others will continue to irreparably harm Plaintiffs,
21
     their members, their patients, and pregnant people across Arizona—achieving through
22
     vagueness what the Arizona legislature has refused to enact directly: a total ban on
23
24   abortion. See, e.g., S.B. 1164, 55th Leg., 2d Reg. Sess. (Ariz. 2022) (15-week gestational

25   ban). This outcome is precisely what the vagueness doctrine proscribes. The public interest

26   and the balance of equities thus sharply tip in Plaintiffs’ favor, and Plaintiffs’ Renewed

27   Motion for Preliminary Injunction should be expeditiously granted.
28

                                                  -2-
     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 6 of 16



 1          Plaintiffs’ Challenge to the Interpretation Policy As Applied to Abortion Care
            is Ripe
 2
            By seeking preliminary relief from the Interpretation Policy as applied to abortion
 3
     care, Plaintiffs present “a particular application of the Interpretation Policy” that is
 4
 5   “restrict[ing] Plaintiffs’ activities ‘in some concrete way.’” PI Order at 8. This is precisely

 6   the type of as-applied challenge that this Court made clear “federal courts stand ready to

 7   address.” Id.
 8          Defendants’ suggestion that Dobbs does not alter this Court’s ripeness analysis
 9   because Plaintiffs did not challenge the Interpretation Policy on substantive due process
10   grounds under Roe and Casey is incorrect and misinterprets how Dobbs impacts Plaintiffs’
11
     vagueness challenge. Resp. at 4. Specifically, Defendants conceded on the record that the
12
     Interpretation Policy could not be used to criminalize or otherwise restrict abortion care
13
     while Roe and Casey remained good law. Oral Argument Tr. at 84–85. Now that the
14
     decision in Dobbs has removed this backstop, Plaintiffs are deprived of a crucial defense
15
     should anyone attempt to prosecute them under the Interpretation Policy for providing,
16
     receiving, or taking other actions involving abortion care. And Plaintiff Physicians have
17
18   ceased providing all abortion care because they do not know whether the Interpretation

19   Policy can now be used to criminalize abortion and as a result credibly fear prosecution. 1

20   Ex. A, Declaration of Eric M. Reuss, M.D., M.P.H. (“Reuss Decl.”) ¶¶ 13, 15 (ECF No.
21   107-1); Ex. B, Declaration of Paul A. Isaacson, M.D. (“Isaacson Decl.”) ¶¶ 12–13, 15–16
22
23   1
      Defendants’ assertions that the “record is devoid of any actual evidence supporting that
24   anyone, including the State Defendants has, or is threatening to, apply the Interpretation
     Policy in a specific or concrete way,” Resp. at 6, is baldly incorrect. See Mot. at 1 (ECF
25   No. 107) (citing Meg O’Connor, Without Roe, Prosecutors Will Be the Abortion Police,
     The Appeal (June 1, 2022), https://tinyurl.com/3dbakb4e (Maricopa County Attorney
26
     Rachel Mitchell “did not respond when asked if she would use the fetal personhood law to
27   prosecute people who provide or obtain abortions.”). Regardless, nowhere in Defendants’
     submission do they argue the Interpretation Policy will not or cannot be used in this way
28   or that Plaintiffs’ fears are not credible.

                                                   -3-
     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 7 of 16



 1   (ECF No. 107-1). This unquestionably presents risks to abortion providers, their staff, their
 2   patients, and their members that did not exist before Dobbs.
 3          Rather than explain why Plaintiffs’ as-applied challenge to the Interpretation Policy
 4   is unripe, Defendants pretend Plaintiffs’ motion seeks facial relief and double down on
 5
     their prior arguments that this case is controlled by Webster v. Reproductive Health
 6
     Services, 492 U.S. 490 (1989). Those arguments fail for three reasons. First, Webster
 7
     involved a facial claim; Plaintiffs’ motion seeks only as-applied relief. Second, Webster
 8
     did not involve a vagueness claim, and thus does not control whether Plaintiffs’ as-applied
 9
     vagueness claim is ripe.
10
11          Third, as Plaintiffs explained in their Ninth Circuit briefing, Webster is legally and

12   factually distinguishable and should not control this case.2 Specifically, the relevant

13   question in Webster was whether two subsections of a legislative preamble, Mo. Rev. Stat.

14   §§ 1.205.1(1), (2), should be struck down on substantive due process grounds. See 492 U.S.
15   at 504–05. The challenged subsections of the preamble set forth “‘findings’ by the state
16   legislature that ‘[t]he life of each human being begins at conception,’ and that ‘unborn
17   children have protectable interests in life, health, and well-being.’” Id. (alterations in
18
     original) (quoting Mo. Rev. Stat. §§ 1.205.1(1), (2)). Those subsections, which Missouri
19
     argued were precatory, were the only provisions of Mo. Rev. Stat. § 1.205 challenged and
20
     before the Court in Webster. See 492 U.S. at 500–01, 504–05.3 They do not resemble the
21
22   2
       All of Plaintiffs’ arguments regarding Webster were clearly laid out for Defendants in
23   briefing before the Ninth Circuit in the now dismissed cross-appeal. Plaintiffs-
     Appellees/Cross-Appellants’ Principal and Response Brief at 57–62, Dkt. No. 41,
24   Isaacson. v. Brnovich, Nos. 21-16645, 21-16711 (9th Cir. Dec. 20, 2021); Plaintiffs-
     Appellees/Cross-Appellants’ Reply Brief at 12–18, Dkt. No. 73, Isaacson v. Brnovich,
25   Nos. 21-16645, 21-16711 (9th Cir. Feb. 8, 2022).
26   3
      See also Webster, 492 U.S. at 501 (noting that five provisions of the Act were before the
27   Court: Mo. Rev. Stat. §§ 1.205.1(1), (2) (defined as the “preamble”), 188.029, 188-205,
     188-210, and 188-215); id. at 504 (defining the “preamble” as Mo. Rev. Stat. §§ 1.205.1(1),
28

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     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 8 of 16



 1   Interpretation Policy in form or function. Compare A.R.S. § 1-219, with Mo. Rev. Stat.
 2   §§ 1.205.1(1), (2).4 Nowhere do Defendants even attempt to address these known flaws in
 3   their argument.
 4          In sum, this Court previously invited Plaintiffs to seek as-applied relief should a
 5
     “particular application of the Interpretation Policy” “restrict Plaintiffs’ activities ‘in some
 6
     concrete way.’” PI Order at 8. Plaintiffs’ request for preliminary relief, specifically as
 7
     applied to abortion care, provides this Court both with a concrete restriction and several
 8
     specific statutory provisions under which the Interpretation Policy’s “acknowledgment”
 9
     mandate is entirely unclear. Mot. at 2, 11. Defendants’ utter failure to respond merely
10
11   underscores that Plaintiffs’ vagueness claim is ripe.

12          The Vagueness Doctrine Applies Here Because the Interpretation Policy
            Threatens Plaintiffs with Severe Criminal Penalties in the Abortion Context
13
            The Interpretation Policy—which threatens Plaintiffs with severe criminal
14
     penalties, among others, in the abortion context—is properly subject to a vagueness
15
16   challenge. Defendants’ position that Plaintiffs’ challenge is improper because, standing

17   alone, the Interpretation Policy “contains no regulation, prohibits no conduct, and contains

18   no penalty,” is wrong and misinterprets applicable law. See Resp. at 8. That Arizona’s
19   legislature drafted a single provision directing the interpretation and revision of countless
20   other unspecified laws, rather than revising those laws individually, cannot be the basis to
21
22
     (2)); id. at 507 (declining to “pass on the constitutionality of the Act’s preamble”)
23   (emphasis added). See also Reprod. Health Servs. v. Webster, 662 F. Supp. 407, 413 (W.D.
24   Mo. 1987) (declaring unconstitutional Mo. Rev. Stat. §§ 1.205.1(1), (2)); Reprod. Health
     Serv. v. Webster, 851 F.2d 1071, 1075–77 (8th Cir. 1988) (affirming same).
25
     4
       The Webster plaintiffs did not challenge the Missouri law’s operative provisions, Mo.
26
     Rev. Stat. §§ 1.205.2–1.205.4. While one of those provisions, Mo. Rev. Stat. § 1.205.2, is
27   similar, but not identical, to a subsection of the Interpretation Policy, A.R.S. § 1-219(A), it
     was not challenged in Webster and the Court accordingly did not analyze whether a facial
28   or as-applied vagueness challenge (or any other challenge) to it would be ripe.

                                                   -5-
     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 9 of 16



 1   avoid constitutional review. Such a haphazard and imprecise legislative mechanism is
 2   precisely the kind of enactment that requires the courts to preserve and protect an
 3   individual’s right to know what kind of conduct is prohibited by Arizona law and to thwart
 4   arbitrary enforcement.
 5
            First, the due process concerns created by the Interpretation Policy do not disappear
 6
     merely because the Interpretation Policy does not appear within the context of a specific
 7
     civil or criminal statute. Resp. at 8.5 “[D]ue process protections against vague laws are ‘not
 8
     to be avoided by the simple label a State chooses to fasten upon its conduct or its statute.’”
 9
     Dimaya, 138 S. Ct. at 1229 (Gorsuch, J., concurring) (quoting Giaccio v. Pennsylvania,
10
11   382 U.S. 399, 402 (1966)). The “happenstance that a law is found in the civil or criminal

12   part of the statute books cannot be dispositive” as to whether vagueness claims can be

13   raised. Id.; cf. Gundy v. United States, 139 S. Ct. 2116, 2127 (2019) (plurality opinion)

14   (“[T]he placement of such a statement [of purpose] within a statute makes no
15   difference. . . . Wherever it resides, it is ‘an appropriate guide’ to the ‘meaning of the
16   [statute’s] operative provisions.’” (citing Antonin Scalia & Bryan Garner, Reading Law:
17   The Interpretation of Legal Texts 218, 220 (2012))). Second, that the Interpretation Policy
18
     does not proscribe conduct as a standalone provision but instead will be used to interpret
19
     other laws puts it directly in a class of statutes for which the Supreme Court has permitted
20
     vagueness challenges.6 In both Johnson and Dimaya, the Supreme Court struck down
21
     provisions, like the Interpretation Policy, that were used to interpret language in other laws.
22
23
     5
24    Furthermore, contrary to Defendants’ assertion, Resp. at 8, it is well established that the
     vagueness doctrine applies outside the realm of criminal law. See Sessions v. Dimaya, 138
25   S. Ct. 1204, 1223 (2018) (striking down the INA’s residual clause as impermissibly vague).
26   6
       Defendants have made clear that the Interpretation Policy “may be used in interpreting
27   other statutes and other provisions . . . including civil provisions, probate provisions,
     criminal provisions, or in any other place in the law where the interpretive . . .
28   preference . . . is triggered.” Oral Argument Tr. at 83:13-24.

                                                   -6-
     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 10 of 16



 1   See Johnson v. United States, 576 U.S. 591, 593–94, 598–600 (2015) (holding
 2   unconstitutional a statute defining the phrase “violent felony” to be construed with other
 3   parts of the statutory scheme); Dimaya, 138 S. Ct. at 1221, 1223 (same as to “crime of
 4   violence”). If the Interpretation Policy “lacks the fundamental characteristics of a law that
 5
     could be subject to a vagueness challenge,” as Defendants suggest, Resp. at 8, then so too
 6
     would the laws that were struck down as vague in Johnson and Dimaya. They did not, and
 7
     here too, the Interpretation Policy does not.
 8
            Third, the vagueness in the Interpretation Policy actually does threaten Plaintiffs
 9
     with severe criminal penalties in the abortion context. Specifically, it requires that the “laws
10
11   of this State . . . be interpreted and construed to acknowledge” the rights of a fertilized

12   egg, embryo, or fetus. A.R.S. § 1-219. Plaintiffs have identified for this Court several

13   statutory examples where the “acknowledgment” provision could be used to criminalize

14   abortion care, Mot. at 11, and nowhere do Defendants claim that the Interpretation Policy
15   does not create this threat. Instead, the State merely suggests that these examples and
16   concerns are “hypothetical” or abstract, Resp. at 9–10, ignoring the already present and
17   very real consequences of this provision. See, e.g., Isaacson Decl. ¶¶ 10–17; Reuss Decl.
18
     ¶¶ 10–15.
19
            Moreover, it is “the severity of the consequences [that] counts when deciding the
20
     standard of [vagueness] review,” not the label applied to it by the state’s legislature.
21
     Dimaya, 138 S. Ct. at 1229 (Gorsuch, J., concurring). Accordingly, as applied in the
22
     context of abortion care, the Interpretation Policy demands the most stringent review, and
23
24   this court should not hesitate to apply the vagueness doctrine and strike down this provision

25   as impermissibly vague.

26          The Interpretation Policy Is Vague As Applied to Abortion Care
27          Defendants admit that a vagueness challenge is proper when a law deprives
28

                                                     -7-
     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 11 of 16



 1   “ordinary people [of] fair notice of the conduct it punishes, or [is] so standardless that it
 2   invites arbitrary enforcement.” Resp. at 8 (quoting Johnson, 576 U.S. at 595). The
 3   Interpretation Policy, as applied to abortion care, does just that.
 4          Indeed, Defendants nowhere offer any construction of the Interpretation Policy that
 5
     would provide Plaintiffs with notice of how to conform their conduct to the law or prevent
 6
     arbitrary and discriminatory enforcement under a range of Arizona laws that could
 7
     criminalize or otherwise restrict abortion care now that Roe and Casey have been
 8
     overturned. See Resp. at 7. Instead, Defendants state that it is “anyone’s guess” whether
 9
     the Interpretation Policy’s rudderless acknowledgment mandate renders abortion care
10
11   illegal. Id. (emphasis added); see also Mot. at 13–15. But if Defendants, who by statute are

12   those charged with enforcing the criminal, licensing, and regulatory laws to which the

13   Interpretation Policy applies,7 have no idea whether the law renders abortion care illegal,

14   how is an ordinary citizen supposed to know what falls within the bounds of the law?
15   Likewise, Defendants’ inability to articulate any coherent understanding of the
16   Interpretation Policy in the abortion context (or in any context) all but ensures arbitrary
17   enforcement—leaving “a mere handful of unelected judges and prosecutors free to
18
     ‘condem[n] all that [they] personally disapprove and for no better reason than [they]
19
     disapprove it.’” Dimaya, 138 S. Ct. at 1228 (Gorsuch, J., concurring) (alterations in
20
     original).
21
22
     7
       See A.R.S. §§ 41-192 and 41-193 (investing Attorney General, the chief legal officer of
23   the state, with discretion to institute and conduct prosecutions for any crime occurring in
24   the state); id. § 11-532(A) (assigning to County Attorney duty to prosecute all violations
     of Arizona’s criminal statutes occurring within their respective counties); id. §§ 32-
25   1403(A)(2), (5), and (9), 32-1405(C)(12), and 32-1401(27)(a) (assigning to Arizona
     Medical Board primary duty for initiating investigations to determine whether a physician
26
     has engaged in unprofessional conduct, which includes violation of federal or state law,
27   disciplining physicians, and establishing penalties for such conduct); id. §§ 36-406(1), 36-
     449.02, and 36-2161 (charging the Arizona Department of Health Services with
28   responsibility for promulgating and enforcing rules related to the practice of abortion).

                                                   -8-
     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 12 of 16



 1          Defendants’ punt to the Arizona judiciary, Resp. at 7, is particularly troubling
 2   because the Interpretation Policy provides no standards that could guide Plaintiffs,
 3   Defendants, or the Arizona courts in answering this question in the abortion context or in
 4   any context. Further, the legislature, not the judiciary, is charged with “establish[ing]
 5
     minimal guidelines to govern law enforcement.” Kolender v. Lawson, 461 U.S. 352, 358
 6
     (1983) (quoting Smith v. Goguen, 415 U.S. 566, 574 (1974)). Laws, like the Interpretation
 7
     Policy, that “set a net large enough to catch all possible offenders, and leave it to the courts
 8
     to step inside and say who could be rightfully detained, and who should be set at large”
 9
     are, by definition, unconstitutionally vague. Id. at 358 n.7 (quoting United States v. Reese,
10
11   92 U.S. 214, 221 (1875)). Such laws “substitute the judicial for the legislative department

12   of government,” id., violating separation of powers and posing a significant threat to

13   liberty. Dimaya, 138 S. Ct. at 1228 (Gorsuch, J., concurring).

14          Accordingly, far from refuting the Interpretation Policy’s vagueness as applied to
15   abortion, Defendants’ submission only confirms it.
16
            The Interpretation Policy Inflicts Irreparable Harm, Particularly in the
17          Abortion Context
18          With respect to Plaintiffs’ showing of irreparable harm, Defendants’ only response
19   is that there is no constitutional violation, and therefore no harm. Resp. at 10. As set forth
20   above, that is incorrect and Plaintiffs therefore satisfy this prong of the injunctive relief
21   standard for this reason alone. See Mot. at 15–16. Notably absent from Defendants’
22
     submission is any engagement with the significant, ongoing—and now undisputed—
23
     harms that are being inflicted on abortion providers and pregnant people in Arizona.
24
     Because of the Interpretation Policy’s vagueness, Plaintiff Physicians have stopped
25
     providing all abortion care. Reuss Decl. ¶¶ 13, 15; Isaacson Decl. ¶¶ 12–13, 15–16. Nearly
26
     all other providers in the state are known to have stopped providing as well. See Taylor
27
     Seely & Stephanie Innes, Fearing Criminal Charges, Clinics Across Arizona Have Stopped
28

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     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 13 of 16



 1   Providing Abortions, Ariz. Republic (June 24, 2022), https://tinyurl.com/bdh9yap9.
 2   Without injunctive relief, the Interpretation Policy will at minimum delay, if not deprive,
 3   Arizonans of access to abortion care. See Mot. at 15–16
 4
            An Injunction Is In The Public Interest and the Balance of Equities Thus Tips
 5          Sharply Toward Plaintiffs
 6          Defendants’ only argument that the balance of equities falls in their favor is that
 7   injunctive relief would “ignore the judgment of [the legislature], deliberately expressed in
 8   legislation.” Resp. at 10 (citation omitted). This argument proves too much: the balance of
 9
     the equities and public interest never weigh in favor of the unconstitutional application of
10
     a law. See Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012). So even if it had been
11
     the legislature’s intent to enact a law that could arbitrarily and discriminatorily be used to
12
     prohibit or restrict abortion, it would not change the outcome here.
13
            Furthermore, because of the Interpretation Policy’s vagueness, the “judgment of
14
     [the legislature]” has not been “deliberately expressed.” Resp. at 10. Instead, Defendants
15
16   are achieving with fear and uncertainty a total ban on abortion with no exceptions. All

17   evidence suggests that this is a result the legislature did not intend given that the

18   Interpretation Policy was passed as part of an omnibus bill, S.B. 1457, that clearly
19   contemplated legal abortion would continue in Arizona, see S.B. 1457 § 2 (enacting a
20   reason-based abortion ban) and § 7(F) (imposing requirements regarding the disposal of
21   fetal remains after abortion), and the legislature just this year passed a law that permits
22
     abortion up to 15 weeks, see S.B. 1164, 55th Leg., 2d Reg. Sess. (Ariz. 2022). Accordingly,
23
     an injunction is in the public interest and the balance of equities tips sharply toward
24
     Plaintiffs.
25
            Conclusion
26
            For the above reasons, Plaintiffs request that their Renewed Motion for Preliminary
27
28   Injunction be granted.

                                                 - 10 -
     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 14 of 16



 1   Dated: July 6, 2022
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                                            - 11 -
     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 15 of 16



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     Case 2:21-cv-01417-DLR Document 116 Filed 07/06/22 Page 16 of 16



 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on July 6, 2022, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing. All counsel of record
 4   are registrants and are therefore served via this filing and transmittal.
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 6                                                             /s/ Jessica Sklarsky
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